  Case: 1:12-cr-00043-MRB Doc #: 245 Filed: 05/23/14 Page: 1 of 1 PAGEID #: 1988



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


   UNITED STATES OF AMERICA,                      :      CASE NO. 1:12-CR-043-1
                                                  :
                       Plaintiff,                 :      JUDGE BARRETT
                                                  :
       v.                                         :
                                                  :      ORDER FOR DISMISSAL
                                                  :
   TRACY BIAS,                                    :
                                                  :
                      Defendant.


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court

endorsed hereon, the United States Attorney for the Southern District of Ohio hereby dismisses Counts

2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and 12 of the Superseding Indictment pending against the defendant,

TRACY BIAS and Counts 1-12 of the Indictment.

                                                      Respectfully submitted,

                                                      CARTER M. STEWART
                                                      United States Attorney


                                                      s/Timothy D. Oakley
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Leave of Court is granted for the filing of the foregoing Order for Dismissal.


    5/22/2014                                               s/Michael R. Barrett
DATE                                                  HONORABLE MICHAEL R. BARRETT
                                                      UNITED STATES DISTRICT JUDGE
